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 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 6
     RUSSELL D. GARRETT, Chapter 7                    CASE NO. C18-5863 BHS
 7   Trustee for the bankruptcy estate of
     Robert and Stephanie Taylor,                     ORDER DENYING DEFENDANT
 8                                                    MORGAN ROTHSCHILD’S
                             Plaintiff,               MOTION TO DISMISS OR TO
 9          v.                                        COMPEL ARBITRATION

10   MORGAN ROTHSCHILD f/k/a
     MORGAN HENNING, HALEY
11   HENNING, and JOHN DOES 1-10,

12                           Defendants.

13
            This matter comes before the Court on Defendant Morgan Rothschild f/k/a
14
     Morgan Henning’s (“Rothschild”) motion to dismiss or in the alternative to compel
15
     arbitration. Dkt. 7. The Court has considered the pleadings filed in support of and in
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     opposition to the motion and the remainder of the file and hereby denies the motion to
17
     dismiss or compel arbitration for the reasons stated herein.
18
                                 I.   PROCEDURAL HISTORY
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            On September 17, 2018, Robert Sean Taylor (“Sean Taylor”) and Stephanie
20
     Taylor (“the Taylors”) filed suit against Rothschild, his ex-spouse Haley Henning
21
     (“Henning”), and John Does 1-10 in the Washington Superior Court for Clark County.
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 1   Dkt. 1-1. On October 25, 2018, Rothschild removed the case to this Court. Dkt. 1. 1 On

 2   November 16, 2018, Rothschild moved to dismiss or in the alternative to compel

 3   arbitration and stay the case. Dkt. 7. On December 11, 2018, the Court entered a stay

 4   pursuant to the parties’ stipulation for the parties to pursue settlement discussions and for

 5   the Taylors’ counsel to seek litigation approval from the Bankruptcy Court. Dkts. 9, 10.

 6   On January 7, 2019, the parties stipulated to lift the stay and renote the motion. On

 7   January 14, 2019, the Taylors responded. Dkt. 12. On January 25, 2019, Rothschild

 8   replied. Dkt. 16. On February 24, 2019, the Court granted a motion to substitute Chapter

 9   7 Trustee Russell Garret into the action as Plaintiff in place of the Taylors. Dkt. 19.

10                                II. FACTUAL BACKGROUND

11          This case involves a dispute between a franchisor and disenchanted franchisees.

12   Rothschild runs Party Princess International (“Party Princess”). Dkt. 1-1, ⁋ 2. Henning,

13   his former spouse, worked with Rothschild on the business and advised on franchises. Id.

14   In October 2015, Party Princess filed paperwork to register in Washington as a

15   franchisor, but the filing was unsuccessful. See Dkt. 8, Declaration of Morgan Rothschild

16   (“Rothschild Decl.”), ⁋ 8.

17          At some point in 2015, Sean Taylor consulted a franchise broker about investment

18   opportunities who referred him to Rothschild. Dkt. 1-1, ⁋ 15. At this time, all parties

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            1
               Rothschild informs the Court, and the Taylors do not contradict, that Henning and the
20   Does have not been served and therefore may remove pursuant to 28 U.S.C. § 1446(b) if they
     choose once service has occurred. Dkt. 1 at 4. The Court notes that Rothschild appears to provide
21   arguments in favor of dismissal on both his own behalf and on Henning’s. However,
     Rothschild’s attorneys appear only on his behalf, so the Court limits its analysis to his presence
22   in the suit.



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 1   resided in California. See Dkt. 12 at 2, 3; Dkt. 16 at 6. Taylor and Rothschild spoke by

 2   phone, and Rothschild “informed Taylor that a Google advertising campaign alone in

 3   Taylor’s prospective territory would generate at least $100,000 per year for Taylor,” but

 4   Rothschild “could not put the projections in writing due to regulatory prohibitions.” Id. ⁋

 5   17. Rothschild also told Sean Taylor that meeting Party Princess’s requirement that each

 6   franchise host 40 parties per month would be “easily achievable.” Id. ⁋ 18. Henning and

 7   Stephanie Taylor met during the initial disclosure process and communicated by phone,

 8   text, and in-person meetings. Id. ⁋ 20. Rothschild and Henning “portrayed themselves as

 9   a team to the Taylors.” Id.

10          In December 2015, Sean Taylor purchased a Party Princess Franchise “for the

11   Washington territory,” and “[Rothschild] caused Party Princess to send written

12   documents to Taylor stating that the worst-case-scenario revenue data for Taylor would

13   be $90,000 in gross revenues based solely on spending $2,190 per month on the Google

14   advertising campaign.” Id. ⁋ 21. 2 In January 2016, according to Rothschild, Party

15   Princess provided supplemental or amended information to the Washington Department

16   of Financial Institutions (“DFI”) and successfully registered as a franchisor. Rothschild

17   Decl. ⁋ 8. In February 2016, Rothschild “notified Mr. Taylor that Party Princess’s

18   franchisor registration had not been effective in Washington at the time the Taylors

19   originally signed the Franchise Agreement.” Id. On February 27, 2016, Rothschild sent

20

21          2
              Rothschild argues that “[a]pproximately two-thirds of the Taylors’ franchise territory
     was located in Portland, Oregon; the remaining third was located in Vancouver, Washington.”
22   Dkt. 7 at 3 (citing Rothschild Decl. ⁋ 2).



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 1   Taylor a new franchise agreement by email to sign. Id. Rothschild declares that the

 2   Taylors moved to the Pacific Northwest “sometime during 2016.” Id. ⁋ 2. Taylor alleges

 3   that despite his continued efforts to operate the franchise, “including fully funding the

 4   marketing campaign, [he] never achieved the results promised by [Rothschild].” Dkt. 1-1,

 5   ⁋ 24.

 6           In October 2017, Taylor filed a complaint about Party Princess with the DFI’s

 7   Securities Division. Id. ⁋ 25. Party Princess then filed an arbitration claim “seeking to

 8   terminate Taylor’s franchise,” and the parties began arbitration in Colorado. Id. 3 As

 9   noted, the Taylors filed this lawsuit on September 17, 2018. Dkt. 1-1. The Taylors claim

10   that they have lost “well over $200,000” in investments in the franchise. Id. ⁋ 28.

11           The Taylors assert four causes of action. Id. ⁋⁋ 29–50. The first cause, for

12   intentional misrepresentation, alleges that Rothschild made knowing false representations

13   about likely revenue from the franchise and the amount of effort needed to earn profits

14   and that Taylor relied on these statements in purchasing the franchise and were damaged

15   when their franchise failed to return the expected profit. Id. ⁋⁋ 29–33. The second cause,

16   for negligent misrepresentation, makes the same allegations, except that it alleges that

17   Rothschild should have known his representations were false. Id. ⁋⁋ 34–38. The third

18   cause, for violation of the FIPA constituting violation of Washington’s Consumer

19   Protection Act, alleges Rothschild and Party Princess either failed to provide a franchise

20   disclosure document or provided one that did not comply with Washington law because

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             3
              Additional factual background on the arbitration proceedings is provided in this Order’s
22   discussion of res judicata and claim preclusion.



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 1   Party Princess was not properly registered as Washington franchisor, made false

 2   statements and omitted material facts in connection with the sale, and sold the franchise

 3   without being registered to do so in Washington. Id. ⁋⁋ 39–43. The third cause also

 4   alleges that “Defendants’ wrongful conduct involves a matter of substantial public

 5   interest as other Washington citizens have been harmed in a similar manner.” Id. ⁋ 44.

 6   The fourth cause of action, for unjust enrichment, alleges that “[d]uring the process of

 7   selling a franchise to Taylor” Rothschild made false representations about the franchise’s

 8   earning potential, that the Taylors paid Rothschild for a franchise in reliance on these

 9   statements, that despite Taylor’s significant additional investments, he never achieved the

10   promised results, and that Rothschild unjustly retained the benefits conferred on him. Id.

11   ⁋⁋ 46–50.

12                                      III. DISCUSSION

13          Rothschild puts forward six reasons why the Court should dismiss this case: (1)

14   the Court lacks personal jurisdiction over the defendants, (2) all claims are compulsory

15   counterclaims to an ongoing arbitration, (3) all claims were the subject of a final

16   dismissal in the ongoing arbitration and are barred by res judicata, (4) all claims are

17   barred by collateral estoppel, (5) all claims are barred by the parties’ contracted statute of

18   limitations, and (6) all claims are barred by warrants and representations in the

19   underlying contract. Dkt. 7 at 1–2.

20          In the alternative, Rothschild asks the Court to stay the case and compel the

21   Taylors’ claims to arbitration. Id. at 2. Finally, Rothschild claims that whether the Court

22   dismisses the case or compels arbitration, he is entitled to attorneys’ fees. Id.


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 1   A.     Personal Jurisdiction

 2          Claims against a defendant may be dismissed when a court lacks personal

 3   jurisdiction. Fed. R. Civ. P. 12(b)(2). When a defendant seeks dismissal on these

 4   grounds, the plaintiff must prove jurisdiction is appropriate. Picot v. Weston, 780 F.3d

 5   1206, 1211 (9th Cir. 2015). To determine whether it has jurisdiction over a defendant, a

 6   federal court applies the law of the state in which it sits, if that law is consistent with

 7   federal due process. Daimler AG v. Bauman, 571 U.S. 117, 126 (2014). Washington

 8   grants courts the maximum jurisdictional reach permitted by due process. Easter v. Am.

 9   W. Fin., 381 F.3d 948, 960 (9th Cir. 2004). Thus, the only question remaining the Court

10   whether its exercise of jurisdiction comports with the limitations imposed by due process.

11   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413 (1984). A court

12   may not exercise jurisdiction over a defendant if that exercise of jurisdiction “offend[s]

13   traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326

14   U.S. 310, 316 (1945). Fair play and substantial justice mandate that a defendant has

15   minimum contacts with the forum state before it may be hailed into a court in that forum.

16   Id. The extent of those contacts can result in either general or specific jurisdiction.

17   Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). If the

18   requirements for either are met, a court has jurisdiction over the parties. Helicopteros,

19   466 U.S. at 413–14.

20          1.     General Jurisdiction

21          General jurisdiction permits a court to consider claims against a person or a

22   corporation for any conduct, even that which occurred outside the forum state. Goodyear,



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 1   564 U.S. at 924; Daimler, 571 U.S. at 126–27. “For an individual, the paradigm forum

 2   for the exercise of general jurisdiction is the individual’s domicile; for a corporation, it is

 3   an equivalent place, one in which the corporation is fairly regarded as at home.”

 4   Goodyear, 564 U.S. at 919. The Taylors do not specify whether they believe the Court

 5   has general or specific personal jurisdiction over Rothschild. See Dkt. 12 at 8–10.

 6   However, they do not provide evidence contradicting Rothschild’s statements in his

 7   declaration that he has never had business offices in Washington, owned property in

 8   Washington, or been a Washington resident. Compare Dkt. 12 with Rothschild Decl. ⁋⁋

 9   1–2. Therefore, the Court concludes it does not have general jurisdiction over Rothschild.

10          2.     Specific Jurisdiction

11          Specific jurisdiction permits a district court to exercise jurisdiction over a

12   nonresident defendant for conduct that “create[s] a substantial connection with the forum

13   State.” Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014). To prove that specific jurisdiction

14   exists in a tort-based action, a plaintiff must demonstrate that: (1) a defendant

15   purposefully directed its activities at the forum state, (2) the lawsuit arises out of or

16   relates to the defendant’s forum-related activities, and (3) the exercise of jurisdiction is

17   reasonable. Picot, 780 F.3d at 1211. A defendant purposefully directs its conduct toward

18   a forum state when its actions are intended to have an effect within the state.

19   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 803 (9th Cir. 2003). This

20   occurs if the defendant: “(1) commit[s] an intentional act, (2) expressly aimed at the

21   forum state, (3) causing harm that the defendant knows is likely to be suffered in the

22   forum state.” Morrill v. Scott Financial Co., 873 F.3d 1136, 1142 (9th Cir. 2017).


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 1   Relatedly, specific jurisdiction exists in a contract-based action when a defendant

 2   purposefully avails himself of the privilege of conducting activities in the forum state.

 3   Schwarzenegger, 374 F.3d at 802. “A showing that a defendant purposefully availed

 4   himself of the privilege of doing business in a forum state typically consists of evidence

 5   of the defendant’s actions in the forum, such as executing or performing a contract there.”

 6   Id. In return for the benefits and protections of the forum’s laws, the defendant must

 7   “‘submit to the burdens of litigation in that forum.’” Id. (quoting Burger King v.

 8   Rudzewicz, 471 U.S. 462, 476 (1985)).

 9             Washington’s FIPA prohibits the sale of unregistered franchises in Washington

10   and provides for jurisdiction in Washington courts over cases arising out of such sales.

11   RCW 19.100.020(1) provides that it is unlawful “for any franchisor or subfranchisor to

12   sell or offer to sell any franchise in this state unless the offer of the franchise has been

13   registered under this chapter or exempted.” RCW 19.100.160 provides:

14             Any person who is engaged or hereafter engaged directly or indirectly in
               the sale or offer to sell a franchise or in business dealings concerning a
15             franchise, either in person or in any other form of communication, shall be
               subject to the provisions of this chapter, shall be amenable to the
16             jurisdiction of the courts of this state, and shall be amenable to the service
               of process under RCW 4.28.180, 4.28.185 and 19.86.160 . . . .
17
     The Court agrees with the Taylors that Rothschild falls within the jurisdictional
18
     parameters of the FIPA. Therefore, the Court must determine whether its exercise of
19
     personal jurisdiction over Rothschild is consistent with due process. Int’l Shoe, 326 U.S.
20
     at 316.
21

22


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 1          When a court rules on a motion to dismiss for lack of personal jurisdiction based

 2   on affidavits and discovery materials rather than an evidentiary hearing, the plaintiff need

 3   only make a prima facie showing of personal jurisdiction. See Ochoa v. J.B. Martin &

 4   Sons Farms, Inc., 287 F.3d 1182, 1187 (9th Cir. 2002). “Although the plaintiff cannot

 5   simply rest on the bare allegations of its complaint, uncontroverted allegations in the

 6   complaint must be taken as true.” Schwarzenegger, 374 F.3d at 800 (internal quotation

 7   marks and citations omitted). “Additionally, any evidentiary materials submitted on the

 8   motion are construed in the light most favorable to the plaintiffs and all doubts are

 9   resolved in their favor.” Ochoa, 287 F.3d at 1187 (internal quotation marks omitted).

10          Party Princess attempted to register as a Washington franchisor in October 2015.

11   Rothschild Decl., ⁋ 8. Rothschild is the principal of Party Princess and does not allege it

12   has any other employees. See Rothschild Decl., ⁋⁋ 1, 8. The Taylors describe Rothschild

13   as the “sole member and manager” of Party Princess. Dkt. 1-1 ⁋ 2. These facts support an

14   inference that Rothschild conducted or directed the registration himself, which

15   Rothschild does not contradict.

16          Rothschild then sold a franchise to the Taylors, following negotiations. Dkt. 1-1,

17   ⁋⁋ 16–21. He personally discussed the purchase with Taylor and caused Party Princess to

18   convey revenue estimates to Taylor after he made the purchase. Id. ⁋⁋ 16–18, 21. This

19   franchise had one-third of its territory in Washington and two-thirds of its territory in

20   Oregon. Rothschild Decl., ⁋ 2. Though Rothschild argues, and the Taylors do not dispute,

21   that the sale took place in December 2015 in California, at a time when all parties lived in

22   California, Dkt. 7 at 3–4 (citing Rothschild Decl. ⁋ 2), and Rothschild did not appear to


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 1   have advertised franchise opportunities directly to Washington residents, the intent of the

 2   negotiations and sale was that Rothschild would establish an ongoing business

 3   relationship with a franchisee who would operate one-third of his business in

 4   Washington. The Taylors emphasize that they planned to and later became residents of

 5   Washington and that Rothschild knew of their plans. Dkt. 12 at 2–3. Rothschild declares

 6   that the Taylors told him they were moving to “the greater Portland metropolitan area.”

 7   Rothschild Decl. ⁋ 2.

 8          The facts here are substantially similar to Hueber v. Sales Promotion, 38 Wn.

 9   App. 66, 71–72 (1984), where the court exercised specific jurisdiction over franchisors in

10   Texas who negotiated and sold a franchise to Washington residents, the “focal point and

11   end product of [the] activity” was an agreement for a franchise with Washington territory.

12   Rothschild cites McGowan v. Pillsbury Co., 723 F. Supp. 530, 534–35 (W.D. Wash.

13   1989) for the proposition that the franchisor-franchisee relationship alone is not sufficient

14   for specific jurisdiction. Dkt. 7 at 9. However, in McGowan, like Hueber, the court found

15   that defendants who were directly involved with the sale of the franchise, participating in

16   the dialogue culminating in the sale, were subject to specific jurisdiction. McGowan, 723

17   F. Supp. at 534–35.

18          Rothschild also cites Mika v. Stevens, 178 Wn. App. 1030, 2013 WL 6835297, at

19   *5 (Dec. 23, 2013), for the proposition that selling a Washington business does not create

20   an expectation that the negotiator will being haled into Washington courts, and Anglin v.

21   21st Century Ins. Co., 116 Wn. App. 1010, 2013 WL 1076538, at *2 n.4 (Mar. 10, 2003),

22   for the proposition that a contract negotiated and signed in California does not confer


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 1   jurisdiction in Washington. Dkt. 16 at 4. The Court finds the facts of this case are closer

 2   to Huber than Mika or Anglin.

 3          In Mika, the plaintiff was injured in a shooting at a billiards club and sued a

 4   corporate officer of the club’s parent’s company who was responsible “for the company’s

 5   overall profitability, not the day-to-day operations of the subsidiary companies.” 2013

 6   WL 6835297 at *1. Here, in contrast, Rothschild appears to have personally negotiated

 7   with and made the sale to Sean Taylor and personally made the representations the

 8   Taylors alleged were harmful. In Anglin, the plaintiff purchased car insurance in

 9   California, was in the process of moving to Washington, was involved in a car accident in

10   Washington, and attempted to assert jurisdiction over the California insurer based on the

11   insurer’s registration to do business in Washington and based on its communication with

12   the plaintiff investigating the accident. 2013 WL 1076538, at *3–4. The insurer

13   understood itself to be entering a relationship with a California consumer for state-based

14   car insurance and only communicated with the plaintiff in Washington once he reported

15   an accident there. In contrast, Rothschild affirmatively attempted to register as a

16   franchisor in Washington, affirmatively offered franchisee opportunities for operation in

17   Washington, and participated in the sale and anticipated ongoing business relationship

18   with a franchisee in Washington. Construing all doubts in the Taylors’ favor, Rothschild

19   can be said to have both purposefully directed activity at Washington causing harm he

20   likely knew would be suffered in Washington, Morrill, 873 F.3d at 1142, and

21   purposefully availed himself of the privilege of doing business in Washington,

22


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 1   Schwarzenegger, 374 F.3d at 802. Therefore, the Court denies his motion to dismiss for

 2   lack of specific personal jurisdiction.

 3   B.     Standard on Fed. R. Civ. P. 12(b)(6) Motion to Dismiss

 4          The remainder of Rothschild’s bases for dismissal appear to fall under Fed. R. Civ.

 5   P. 12(b)(6), failure to state a claim upon which relief can be granted. 4 Motions to dismiss

 6   brought under Rule 12(b)(6) may be based on either the lack of a cognizable legal theory

 7   or the absence of sufficient facts alleged under such a theory. Balistreri v. Pacifica Police

 8   Department, 901 F.2d 696, 699 (9th Cir. 1990). Material allegations are taken as true and

 9   construed in the light most favorable to the nonmoving party. Everest & Jennings, 23

10   F.3d at 228. To survive a motion to dismiss, the complaint does not require detailed

11   factual allegations but must provide the grounds for entitlement to relief and not merely a

12   “formulaic recitation” of the elements of a cause of action. Bell Atlantic Corp. v.

13   Twombly, 550 U.S. 544, 555 (2007). Plaintiffs must allege “enough facts to state a claim

14   to relief that is plausible on its face.” Id. at 570. When deciding a motion to dismiss, the

15   Court considers facts alleged in the pleadings, and does not consider additional

16   allegations made in briefing. Fed. R. Civ. P. 12(d).

17          The Court will first address Rothschild’s two contract-based defenses to the

18   Taylors’ claims: (1) the contracted statute of limitations has run and (2) the Taylors’

19   claims are based on Rothschild’s statements which are extrinsic to the contract and “on

20
            4
               While some of Rothschild’s arguments allude to the Court’s potential lack of
21   jurisdiction, which would be properly brought under Fed. R. Civ. P. 12(b)(1) and could include
     an evidentiary hearing, the parties’ stipulated motion to stay, Dkt. 23, provides that Rothschild’s
22   instant motion to dismiss is brought pursuant to Fed. R. Civ. P. 12(b)(2) & (6).



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 1   which the Taylors contractually represented and warranted they did not rely.” Dkt. 7 at 2.

 2   Next, Rothschild makes three arguments related to preclusion, which the Court will not

 3   consider on the instant motion to dismiss. Finally, the Court will address Rothschild’s

 4   motion in the alternative that the Court compel the Taylors’ claims to arbitration and stay

 5   the action.

 6          1.     Contractual Defenses

 7          As noted, motions to dismiss brought under Rule 12(b)(6) may be based on either

 8   the lack of a cognizable legal theory or the absence of sufficient facts alleged under such

 9   a theory. Balistreri, 901 F.2d at 699. Rothschild’s defenses invoking the contract’s

10   provisions are not made on either of these bases. First, Rothschild argues that under the

11   Franchise Agreement, the parties agreed that “any claims under, arising out of, or related

12   to, this Agreement must be brought within two (2) years of the date on which the

13   underlying cause of action accrued.” Dkt. 7 at 14 (citing Dkt. 8-1 at 49). Second,

14   Rothschild argues that “the plain language of the Franchise Agreement and [Franchise

15   Disclosure Documents]” defeat the Taylors’ misrepresentation claims because in those

16   documents “the Taylors expressly and repeatedly agreed that no representations regarding

17   financial performance or success had been made to them outside of what they received in

18   the Franchise Agreement and the [Franchise Disclosure Documents] . . . .” Dkt. 7 at 16.

19          Taking the Taylors’ material allegations as true and construing them in the light

20   most favorable to them as the nonmoving party, Everest & Jennings, 23 F.3d at 228,

21   Rothschild either: (1) fraudulently induced the Taylors to purchase the franchise; (2) sold

22   them a franchise in violation of Washington law; or (3) in the absence of a contractual


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 1   relationship, improperly took a benefit from them and retained it. Dkt. 1-1, ¶¶ 29–50.

 2   Rothschild argues that the “misrepresentation claims are defeated by the plain language

 3   of the Franchise Agreement and the FDD and should be dismissed.” Dkt. 7 at 16.

 4   Rothschild, however, fails to clearly articulate how the defense of an existing contract

 5   should be applied on a motion to dismiss the Taylors’ tort claims. Instead, he provides a

 6   collection of sporadic authorities with little to no analysis. Id. at 16–18. If Rothschild

 7   seeks a ruling that an existing contract precludes the Taylors’ tort claims, then he may file

 8   a motion for summary judgment that first seeks a ruling that the contract is valid and

 9   enforceable followed by a ruling that certain provisions within the contract bar the

10   claims. See, e.g., FMC Techs., Inc. v. Edwards, C05-946C, 2007 WL 1725098, at *2

11   (W.D. Wash. June 12, 2007), aff’d, 302 Fed. Appx. 577 (9th Cir. 2008). To the extent

12   Rothschild attempts to argue that the Taylors’ claims fail for lack of a cognizable legal

13   theory, the Court denies the motion.

14          2.     Res Judicata and Collateral Estoppel

15          “Res judicata bars all grounds for recovery which could have been asserted,

16   whether they were or not, in a prior suit between the same parties on the same cause of

17   action.” Clark v. Bear Stearns & Co., Inc., 966 F.2d 1318, 1321 (9th Cir. 1992). “This

18   circuit adheres to the rule that ‘[u]nder Rule 13(a) a party who fails to plead a compulsory

19   counterclaim against an opposing party is held to have waived such claim and is

20   precluded by res judicata from bringing suit upon it again.’” Baker v. Southern Pac.

21   Transp., 542 F.2d 1123, 1126 (9th Cir. 1976) (quoting Dragor Shipping Corp. v. Union

22   Tank Car Co., 378 F.2d 241, 244 (9th Cir. 1967)). Regarding res judicata, Rothschild


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 1   argues that “[t]o the extent [the Taylors’ claims] were not asserted in the Arbitration, the

 2   deadline to do so has passed,” and “[t]o the extent [the Taylors’ claims] were asserted in

 3   the Arbitration, the Arbitrator dismissed them.” Dkt. 7 at 12.

 4           “To foreclose relitigation on an issue under collateral estoppel: (1) the issue at

 5   stake must be identical to the one alleged in the prior litigation; (2) the issue must have

 6   been actually litigated in the prior litigation; and (3) the determination of the issue in the

 7   prior litigation must have been a critical and necessary part of the judgment in the earlier

 8   action.” Clark, 966 F.2d at 1320–21 (citing Greenblatt v. Drexel Burnham Lambert, Inc.,

 9   763 F.2d 1352, 1360 (11th Cir. 1985)). Regarding collateral estoppel, Rothschild argues

10   that the that the Court should treat the arbitrator’s dismissal of the Taylors’ arbitration

11   counterclaims “as a final judgement on the merits, for preclusion analysis.” Dkt. 7 at 13

12   (citing Dkt. 8-1 at 334).

13          Res judicata and collateral estoppel are affirmative defenses. Blonger-Tongue

14   Labs., Inc. v. Univ. of Ill. Found., 402 U.S. 313, 350 (1971). Affirmative defenses are not

15   properly raised on a motion to dismiss if they involve disputed questions of fact.

16   ASARCO, LLC v. Union Pac. R. Co., 765 F.3d 999, 1009 (9th Cir. 2014). According to

17   Fed. R. Civ. P. 12(d) “[i]f, on a motion under Rule 12(b)(6) or 12(c), matters outside the

18   pleadings are presented to and not excluded by the court the motion must be treated as

19   one for summary judgment under Rule 56.” There are two exceptions to this rule. First, a

20   court may consider material submitted as part of the complaint or material under the

21   incorporation by reference doctrine which “permits a court to consider a document ‘if the

22   plaintiff refers extensively to the document or the document forms the basis of the


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 1   plaintiff’s claim.’” Steinle v. City & Cty. of San Francisco, 919 F.3d 1154, 1162–63 (9th

 2   Cir. 2019) (citing United States v. Ritchie, 342 F.3d 902, 908 (9th Cir. 2003)). Second, a

 3   court may take judicial notice of matters of public record. Id. at 789 (citing Mack v. South

 4   Bay Beer Distrib., 798 F.2d 1279, 1282 (9th Cir. 1986)); see also Madeja v. Olympic

 5   Packers, LLC, 310 F.3d 628 639 (9th Cir. 2002) (district court did not abuse its discretion

 6   in declining request for judicial notice of unauthenticated bankruptcy proceedings).

 7          While the parties agree that arbitration is ongoing, Rothschild argues that the

 8   question of the Taylors’ counterclaims in arbitration has been conclusively decided, Dkt.

 9   7 at 13, but the Taylors argue that their counterclaims were not actually litigated in the

10   arbitration proceedings. Dkt. 12 at 14. While deciding the impact of decisions in

11   arbitration on Rothschild’s preclusion defenses may ultimately be a question of fact or a

12   question of law, in either scenario the Court would need to review the arbitration

13   proceedings. Both parties provide declarations from their attorneys which have exhibits

14   from or related to the arbitration proceedings. Dkt. 13; Dkt. 17. However, these

15   documents present a fragmented picture of the ongoing proceedings, no final decision on

16   the merits, and are not authenticated by the arbitrator such that the court may take judicial

17   notice of them. Id.

18          Rothschild asks that “[t]o the extent the Court cannot consider any evidence for

19   any aspect of the instant Motion,” the Court set aside that aspect evidence rather than

20   converting the motion to one for summary judgment. Dkt. 7 at 18; Dkt. 16 at 12.

21   Rothschild argues that the arbitration proceedings are referenced in the complaint. Dkt. 7

22   at 19; Dkt. 16 at 12. Upon review, the complaint mentions arbitration once, alleging in


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 1   the factual history that after Taylors filed a complaint with the DFI, Party Princess

 2   “retaliated by filing an arbitration claim . . . forcing Taylor to arbitrate in Colorado, in

 3   violation of [the Franchise Investment Protection Act].” Dkt. 1-1, ⁋ 25. This paragraph of

 4   the complaint is not sufficient for the Court to find that arbitration-related materials are

 5   referred to extensively in the complaint, and none of the arbitration documents form the

 6   basis of the Taylors’ claims. Steinle, 919 F.3d at 1162–63. While the Taylors do put

 7   forward arbitration materials in support of their opposition, the arbitration materials the

 8   Taylors argue contain the facts relevant to preclusion are different from the materials

 9   Rothschild puts forward, so the parties cannot be said to be operating from an undisputed

10   set of facts on this question. Compare Dkt. 13 with Dkts. 8, 17.

11          Therefore, the Court finds that on the record before it, it cannot consider

12   Rothschild’s preclusion defenses under a Fed. R. Civ. P. 12(b)(6) motion to dismiss. Per

13   Rothschild’s request, the Court will not convert the motion to one for summary judgment

14   under Fed. R. Civ. P. 56. The Court denies the motion on these issues without prejudice.

15   C.     Motion to Compel Arbitration

16          If the Court does not dismiss the Taylors’ claims, Rothschild asks it to compel the

17   claims to arbitration. Dkt. 7 at 20. The parties’ briefing on this issue is minimal, limiting

18   the Court’s ability to provide a thorough analysis.

19          The Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”) makes agreements to

20   arbitrate “valid, irrevocable, and enforceable, save upon such grounds as exist at law or in

21   equity for the revocation of any contract.” 9 U.S.C. § 2. The FAA supports a liberal

22   policy favoring arbitration and reinforces the “fundamental principle that arbitration is a


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 1   matter of contract.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 336 (2011). The

 2   FAA requires courts to “rigorously enforce” agreements to arbitrate, Mitsubishi Motors

 3   Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626 (1985), to ensure that private

 4   contractual provisions “are enforced according to their terms.” Stolt–Nielsen S.A. v.

 5   AnimalFeeds Int’l Corp., 559 U.S. 662, 684 (2010) (quoting Volt Info. Sciences, Inc. v.

 6   Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468, 479 (1989)).

 7          The party seeking to compel arbitration has the burden of proving that an

 8   arbitration agreement exists and that it applies to the dispute at issue. Ashbey v. Archstone

 9   Prop. Mgmt., Inc., 785 F.3d 1320, 1323 (9th Cir. 2015) (citing Cox v. Ocean View Hotel

10   Corp., 533 F.3d 1114, 1119 (9th Cir. 2008)). Rothschild devotes the majority of his

11   briefing on compelling arbitration to arguing that he should be permitted to invoke the

12   arbitration clause even though he is a nonsignatory. The Court agrees. All for Kidz, Inc. v.

13   Around the World Yoyo Entm’t Co., No. C13–2001RAJ, 2014 WL 1870821 at *3 (W.D.

14   Wash. May 8, 2014) (“jurisdictions across the country uphold a nonsignatory employee’s

15   right to invoke an arbitration clause defensively in a case arising out of his acts on behalf

16   of his signatory employer.”). However, the issue of who may invoke a contract’s

17   provision does not resolve the larger question of whether arbitration should be compelled.

18          Parties may generally put more limits on their conduct in contract than exist in

19   law, but that right to contract may be limited by statute or unconscionability. See, e.g.,

20   Adler v. Fred Lind Manor, 153 Wn.2d 331, 355–56 (2004). Here, FIPA provides that

21   “[a]ny agreement, condition, stipulation, or provision, including a choice of law

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 1   provision, purporting to bind any person to waive compliance with any provision of this

 2   chapter or any rule or order hereunder is void.” RCW 19.100.220(2).

 3          While Rothschild argues that DFI approved the arbitration site clause in the

 4   Franchise Agreement, the evidence he cites does not clearly support that conclusion.

 5   Rothschild cites emails between his counsel Douglas Ferguson (“Ferguson”) and the DFI

 6   in December 2015 and January 2016, which he argues show that DFI “approved Party

 7   Princess’s Franchise Agreement featuring the Colorado arbitration venue as conforming

 8   with FIPA and other state law.” Dkt. 16 at 12 n.7 (citing Dkt. 17-1 at 15–17). He also

 9   argues the emails show that “DFI and Party Princess expressly discussed the Colorado

10   venue issue and agreed the clause was permissible.” Id. The emails show Ferguson

11   inquired about the status of DFI’s decision, DFI responded expressing concerns with

12   Party Princess’s language on the site of arbitration, and Ferguson sent an email in

13   response. See Dkt. 17-1 at 15–17. Approximately a fourth of Ferguson’s inquiry email is

14   redacted, two out of the three paragraphs in DFI’s response are redacted, and Ferguson’s

15   entire response to DFI is redacted. Id. The Court is unable to draw a conclusion about

16   what DFI found from these emails.

17          Moreover, in support of his reply, Rothschild provides the declaration of his

18   attorney Curt Hineline, which includes an excerpt of a DFI “Statement of Charges and

19   Notice of Intent to Enter Order to Cease and Desist” (the “Notice”) to Party Princess

20   dated April 2018. Dkt. 17, ⁋ 5. 5 While Hineline declares that “[s]ince receipt of DFI’s

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              The excerpt contains the first and last page of the notice but omits the intervening six
22   pages. See Dkt. 17-1 at 3–4.



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 1   Notice, my office has been engaged in administrative proceedings with DFI to resolve

 2   certain factual questions,” id., and the Notice provides that Rothschild and Party Princess

 3   may request a hearing, the Notice states that the Securities Administrator “has reason to

 4   believe” that Rothschild and Party Princess have each violated the FIPA and these

 5   violations “justify the entry of an order against each to cease and desist from these

 6   violations.” Dkt. 17-1 at 3. The “Conclusions of Law” section states that Rothschild and

 7   Party Princess made false statements or omissions in connection with the offer and sale of

 8   franchises, violated FIPA by selling a franchise without being registered with

 9   Washington to do so, and violated FIPA by failing to provide franchisees with franchise

10   disclosure documents which complied with FIPA. Id. at 4. These findings support an

11   inference that Rothschild did not correct the documents he provided to the Taylors as he

12   claimed.

13          Though not cited by either party, the Court finds that Allison v. Medicab Intern.,

14   Inc., 92 Wn.2d 199, 203 (1979) (“Allison”) appears applicable to this case. There, the

15   Washington Supreme Court found that when parties entered into the franchise agreement

16   voluntarily and with the advice of counsel, and the arbitration clause is not part of what

17   was allegedly fraudulently induced, claims of fraud inducing entry into the sale of a

18   franchise may still be properly referred to arbitration. Allison, 92 Wn.2d at 203 (citing

19   Pinkis v. Network Cinema Corp., 9 Wn.App. 337, 346 (1978)). The Washington Supreme

20   Court also found that the failure to register under RCW 19.100.020 “does not vitiate the

21   arbitration clause.” Allison, 92 Wn.2d at 203. Allison provides an example of a contract

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 1   that was the result of intentional misrepresentation, entered by a franchisor who had

 2   failed to comply with FIPA, and yet remained at least partially enforceable.

 3          The Court finds that parties have failed to clearly brief whether a valid and

 4   enforceable contract exists between them, and how their claims and defenses might void

 5   the contract, result in rescission, make certain provisions voidable, or have some other

 6   impact. Even if they did provide more briefing on this issue, it seems more apt for

 7   summary judgment instead of a motion to dismiss. In sum, Rothschild has failed to meet

 8   his burden to establish that the Court should compel arbitration, and the Court denies his

 9   motion on this issue without prejudice.

10   D.     Attorneys’ Fees

11          Rothschild argues that because the Taylors have breached the Franchise

12   Agreement and “instituted unnecessary litigation in violation of the Franchise

13   Agreement’s mandatory arbitration provisions, the Taylors are liable for Mr. Rothschild’s

14   attorney fees and costs under the plain language of the Franchise Agreement.” Dkt. 7 at

15   23 (citing Dkt. 8-1, §16.3(b)). Consulting the cited provision, the Court finds that the

16   preceding provision provides all disputes shall be subject to arbitration, and the cited

17   provision provides that the arbitrator shall “allocate all of the costs of the arbitration,

18   including the fees of the arbitrator and the reasonable attorney’s fees of the prevailing

19   party, against the party who did not prevail.” Dkt. 8-1 at 47–48. Rothschild has not

20   directed the Court to contracted language providing that in the event one party institutes

21   litigation outside the mandatory arbitration provision, the losing party is liable for the

22   prevailing party’s costs. Therefore, the Court will not award attorneys’ fees under the


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 1   contract. The Court also declines to award fees under RCW 4.28.185(5), which provides

 2   that courts may award fees to prevailing defendants personally served outside the state, or

 3   under RCW 19.100.190(3), which provides that in suits against franchisors to recover

 4   damages sustained by plaintiffs, the prevailing party may in the discretion of the court

 5   recover a reasonable attorneys’ fee.

 6                                          IV. ORDER

 7          Therefore, it is hereby ORDERED that Rothschild’s motion to dismiss or compel

 8   arbitration, Dkt. 7, is DENIED.

 9          Dated this 2nd day of May, 2019.

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                                                      ABENJAMIN H. SETTLE
                                                       United States District Judge

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